

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-75,515-01






EX PARTE DANIEL BUITRON, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 00-CR-1280-A
IN THE 107th DISTRICT COURT FROM CAMERON COUNTY 





Per curiam.


O R D E R


	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex.Crim.App. 1967). Applicant was convicted of the offense of
felony driving while intoxicated and sentenced to imprisonment for twelve years. 

	On March 1, 2010, an order designating issues was signed by the trial court. The habeas
record has been forwarded to this Court prematurely. We remand this application to Cameron County
to allow the trial judge to complete an evidentiary investigation and enter findings of fact and
conclusions of law.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 


Filed: March 30, 2011

Do not publish 


	


